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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT                                                  NOV 122U09
                                                         Eastern District of Arkansas
                                                                                                          JAMES
                                                                                               By:
             UNITED STATES OF AMERICA
                                                                       )     JUDGMENT IN A CRI=M~I=':N~A~L~C~A~~~.L
                                                                       )
                                  v.                                   )
                                                                       )
               THATCHER COOPERWOOD                                           Case Number:    4:09CR00038-03 JLH
                                                                       )
                                                                       )     USMNumber:      25453-009
                                                                       )
                                                                       )     Jack R. Kearney
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Count 1 of Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended                Count
18 U.S.c. § 2114(a) and 2         Aiding and abetting the robbery of a United States Post Office,             12/8/2008                   1
                                    a Class B felony




       The defendant is sentenced as provided in pages 2 through           _----=c6 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                  N/A                                    D are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIC circumstances.




                                                                           J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge


                                                                           November 12, 2009
                                                                           Date
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AD 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   2   of   6
DEFENDANT:                     THATCHER COOPERWOOD
CASE NUMBER:                   4:09CR00038-03 JLH


                                                           IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:


                                                                 90 DAYS


      X The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends defendant participate in educational and vocational programs during
          incarceration.


      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at                                  0 a.m.       o p.m. on
        o as notified by the United States Marshal.
      X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          X before 2 p.m. on             Monday, May 17,2010
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

  a                                                  , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AD 2458       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                            Judgment-Page ._ _
                                                                                                                             3 _ of             6
DEFENDANT:                      THATCHER COOPERWOOD
CASE NUMBER:                    4:09CR00038-03 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

                                                             THREE (3) YEARS
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
X        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
         as directed by the probatIon officer, the13ureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or )?ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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          Sheet 3A - Supervised Release
                                                                                            Judgment-Page _--,-4_ of       6
DEFENDANT:                THATCHERCOOPERWOOD
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                                    ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant must disclose financial information upon request of the U.S. Probation Office, including, but not limited
to, loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.
No new lines of credit will be established without prior approval of the U.S. Probation Office until all criminal penalties have
been satisfied.
15) The defendant must perform 100 hours of community service during the first year of supervised release. The location for
the community service will be determined by the probation officer.
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             (Rev. 09/08) Judgment in a Criminal Case
             Sheet 5 - Criminal MonetaI)' Penalties
                                                                                                                 Judgment - Page _=5_ _                  of       6
DEFENDANT:                           THATCHER COOPERWOOD
CASE NUMBER:                         4:09CR00038-03 JLH
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                         Fine                                                         Restitution
TOTALS               $ 100.00                                           $ 0                                                 $ 12,990.19


 D    The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664l1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                   Total Loss*                         Restitution Ordered                                        Priority or Percentage
 Memphis Jewelers                                           $500.00                                $500.00
 Accent Jewelers                                           $2,500.00                              $2,500.00
 Jewelers Mutual Insurance                                 $8,032.00                              $8,032.00
   Company
 U.S. Postal Service                                       $1,958.19                              $1,958.19




 TOTALS                                 $                   12,990.19            $                --=1=2,'-"--9::.. .:90"-'-.1=..=9_


 D      Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

  X       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          X the interest requirement is waived for the           D fine       X restitution.
          D the interest requirement for the            D fine    D restitution is modified as follows:


  * Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
  Septemoer 13, 1994, but before April 23, 1996.
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             Sheet 6 - Schedule of Payments

                                                                                                                                  Judgment -   Page   6   of   6
DEFENDANT:                       THATCHER COOPERWOOD
CASE NUMBER:                     4:09CR00038-03 JLH

                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X Lump sum payment of $ ---=-.=....::..c-=-=--
                                  100.00                               _ due immediately, balance due

             D      not later than                                              , or
             D      in accordance              D C,          D D,          D      E, or       D F below; or
B     D      Payment to begin immediately (may be combined with                           DC,            D D, or         D F below); or
C      D Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                               (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                               (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X Special instructions regarding the payment of criminal monetary penalties:
             During incarceration, defendant will pay 50 percent per month of all funds that are available to him. During
             residential re-entry placement, payments will be reduced to 10 percent of defendant's gross monthly income.
             Beginning the first month of supervised release, payments will be 10 percent per month of the defendant's
             monthly gross income. The interest requirement is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau ofPrisons '
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

      Joint and several with any other person who has been or will be convicted on an offense for which restitution to the same
      victim on the same loss is ordered.


D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
